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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTICT OF MICHIGAN
                          SOUTHERN DIVISION

 United States of America,

       Plaintiff(s),                        Case No. 17-20595
                                            Honorable Victoria A. Roberts
 v.

 Yousef Ramadan,

      Defendant(s).
 ____________________________/

                        ORDER STRIKING DOCUMENT

       The Court reviewed Nabih Ayad’s Motion for Permission to Appear

 Pro Hac Vice [ECF No. 174]. The Court STRIKES that document for the

 following reason(s):

       ☒ Missing statement of concurrence. See Local Rule (“LR”) 7.1(a).

       ☒ Missing required information (e.g., table of contents, concise

 statement of issues, controlling or most appropriate authority, index of

 authorities, index of exhibits, etc.). See LR 7.1(d)(2).

       ☐ Does not contain a statement of material facts with numbered

 paragraphs or fails to respond to statement of material facts in motion. See

 Section 1(A) of Phase II Scheduling Order (Statement of Material Facts on

 Motion for Summary Judgment).
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       ☐ Wrong font size or improperly formatted (e.g., single-spaced,

 improper margins, missing page numbers, etc.). See LR 5.1(a)(2),(3).

       ☐ Does not comply with Rule 18(b) of the Electronic Filing Policies

 and Procedures, regarding filing exhibits electronically. See LR 5.1.1(a).

       ☐ Does not comply with Local Rule 5.3, regarding filing an item

 under seal in a civil case.

       ☐ Over-length. See LR 7.1(d)(3).

       ☐ Motion to dismiss/response to motion to dismiss relies primarily

 on summary judgment cases.

       ☐ Does not comply with the Scheduling Order (or other Order or

 Notice) in this case for the following reasons: _______________________

 ___________________________________________________________.

       ☐ Other: ______________________________________________.

       The document is stricken and not part of the record. The document

 must be refiled in full compliance by March 6, 2020. A courtesy copy that

 includes tabbed and highlighted exhibits and the ECF electronic date stamp

 must be submitted to chambers.

       IT IS ORDERED.
                                           S/ Victoria A. Roberts
                                           Victoria A. Roberts
 Dated: 3/4/2020                           United States District Judge
                                       2
